  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.42 Page 1 of 8



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

 MARCIA R. MEOLI,                                §
 Trustee for Renae Hoebbel,                      §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §   Case No. 1:18-cv-00097-RJJ-PJG
                                                 §
 EGS FINANCIAL CARE, INC. f/k/a                  §
 NCO FINANCIAL SYSTEMS, INC.,                    §
                                                 §
        Defendant.                               §

            DEFENDANT’S, ANSWER AND AFFIRMATIVE DEFENSES

       Defendant, EGS Financial Care, Inc. f/k/a NCO Financial Systems, Inc. (“EGS”),

through counsel and under the Federal Rules of Civil Procedure, hereby submits this

Answer and Affirmative Defenses to the complaint filed by plaintiff, Marcia R. Meoli

(“plaintiff”), and states:

                                       INTRODUCTION

       1.      EGS denies the allegations in ¶ 1.

       2.      EGS denies the allegations in ¶ 2.

       3.      EGS denies the allegations in ¶ 5 for lack of knowledge or information

sufficient to form a belief therein.

       4.      EGS denies the allegations in ¶ 4.

       5.      EGS denies the allegations in ¶ 5.

       6.      EGS denies the allegations in ¶ 6.

       7.      EGS denies the allegations in ¶ 7.


                                             1
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.43 Page 2 of 8



       8.     EGS denies the allegations in ¶ 8.

       9.     EGS denies the allegations in ¶ 9.

       10.    Exhibit 1 speaks for itself and is the best evidence of its content. To the extent

the allegations in ¶ 10 state otherwise, denied.

       11.    Exhibit 1 speaks for itself and is the best evidence of its content. To the

extent the allegations in ¶ 11 state otherwise, denied.

       12.    Exhibit 1 speaks for itself and is the best evidence of its content. To the

extent the allegations in ¶ 12 state otherwise, denied.

       13.    EGS denies the allegations in ¶ 13.

       14.    The FDCPA speaks for itself and is the best evidence of its content. To the

extent the allegations in ¶ 14 state otherwise, denied.

                             JURISDICTION AND VENUE

       1.     EGS admits the allegations in ¶ 1.

       2.     EGS denies the allegations in ¶ 2 as calling for a legal conclusion.

       3.     The debtor’s bankruptcy docket speaks for itself and is the best evidence of

its content. To the extent the allegations in ¶ 3 state otherwise, denied.

       4.     The debtor’s bankruptcy docket speaks for itself and is the best evidence of

its content. To the extent the allegations in ¶ 4 state otherwise, denied.

       5.     Upon information and belief, EGS admits this Court has jurisdiction. Except

as specifically admitted, EGS denies the allegations in ¶ 5.

       6.     EGS admits plaintiff filed this action alleging violations of the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq. and the Telephone
                                              2
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.44 Page 3 of 8



Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et. seq., but denies any violations,

liability, or wrongdoing under the law. Except as specifically admitted, TSI denies the

allegations in ¶ 6.

       7.     EGS denies the allegations in ¶ 7.

                                        PARTIES

       8.     EGS denies the allegations in ¶ 8 as calling for a legal conclusion.

       9.     EGS denies the allegations in ¶ 9 as calling for a legal conclusion.

       10.    EGS denies the allegations in ¶ 10 as calling for a legal conclusion.

       11.    EGS denies the allegations in ¶ 11.

       12.    EGS admits part of its business is the collection of debts owed to others.

Except as specifically admitted, EGS denies the allegations in ¶ 12.

       13.    EGS denies the allegations in ¶ 13 as calling for a legal conclusion.

       14.    EGS denies the allegations in ¶ 14 as calling for a legal conclusion.

       15.    EGS denies the allegations in ¶ 15 for lack of knowledge or information

sufficient to form a belief therein.

       16.    EGS denies the allegations in ¶ 16 for lack of knowledge or information

sufficient to form a belief therein.

       17.    EGS denies the allegations in ¶ 17.

       18.    EGS denies the allegations in ¶ 18.

       19.    EGS denies the allegations in ¶ 19.

       20.    EGS denies the allegations in ¶ 20.

       21.    EGS denies the allegations in ¶ 21.

                                             3
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.45 Page 4 of 8



       22.    EGS denies the allegations in ¶ 22.

       23.    EGS denies the allegations in ¶ 23.

       24.    EGS denies the allegations in ¶ 24.

       25.    EGS denies the allegations in ¶ 25.

       26.    The federal docket speaks for itself and is the best evidence of its content. To

the extent the allegations in ¶ 26 state otherwise, denied.

       27.    EGS denies the allegations in ¶ 27.

       28.    EGS denies the allegations in ¶ 28.

       29.    EGS denies the allegations in ¶ 29.

       30.    EGS denies the allegations in ¶ 30.

       31.    EGS denies the allegations in ¶ 31.

       32.    EGS denies the allegations in ¶ 32.

       33.    EGS denies the allegations in ¶ 33.

       34.    Exhibit 3 speaks for itself and is the best evidence of its content. To the extent

the allegations in ¶ 34 state otherwise, denied.

       35.    EGS denies the allegations in ¶ 35.

       36.    EGS denies the allegations in ¶ 36.

       37.    EGS denies the allegations in ¶ 37 as calling for a legal conclusion.

       38.    EGS denies the allegations in ¶ 38.

       39.    EGS denies the allegations in ¶ 39.

       40.    EGS denies the allegations in ¶ 40.

       41.    EGS denies the allegations in ¶ 41.
                                              4
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.46 Page 5 of 8



                      Count I – Telephone Consumer Protection Act

       42.     EGS denies the allegations in ¶ 42.

       43.     EGS denies the allegations in ¶ 43.

       44.     EGS denies the allegations in ¶ 44.

       45.     EGS denies the allegations in ¶ 45.

       46.     EGS denies the allegations in ¶ 46.

             Count II – Violation of 15 U.S.C. § 1692d and MCL § 339.915(n)

       47.     The FDCPA speaks for itself and is the best evidence of its content. To the

extent the allegations in ¶ 47 state otherwise, denied

       48.     The MCL speaks for itself and is the best evidence of its content. To the

extent the allegations in ¶ 48 state otherwise, denied.

       49.     EGS denies the allegations in ¶ 49.

       50.     EGS denies the allegations in ¶ 50.

       51.     EGS denies the allegations in ¶ 51.

                        Count III – Violation of MCL § 339.915(q)

       52.     The MCL speaks for itself and is the best evidence of its content. To the

extent the allegations in ¶ 52 state otherwise, denied.

       53.     EGS denies the allegations in ¶ 53.

                                     TRIAL BY JURY

       54.     EGS admits plaintiff has requested a trial by jury, but denies any violations,

liability or wrongdoing. Except as specifically admitted, EGS denies the allegations in ¶

54.

                                              5
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.47 Page 6 of 8



                                PRAYER FOR RELIEF

Telephone Collection Practices Act

      55.    EGS denies the allegations in ¶ 55.

      56.    EGS denies the allegations in ¶ 56.

      57.    EGS denies the allegations in ¶ 57.

Fair Debt Collection Practices Act

      58.    EGS denies the allegations in ¶ 58, including subpart a.

Michigan Occupational Code

      59.    EGS denies the allegations in ¶ 59, including subparts a-b.

                         EGS’S AFFIRMATIVE DEFENSES

      1.     To the extent that any violations are established, any such violations were

not intentional and resulted from bona fide error notwithstanding the maintenance of

procedures reasonably adopted and specifically intended to avoid any such error.

      2.     EGS denies any liability; however, regardless of liability, plaintiff has

suffered no actual damages as a result of EGS’s purported violations.

      3.     One or more claims asserted by plaintiff is barred by the statute of limitations,

laches, estoppel, waiver and/or unclean hands.

      4.     Assuming that plaintiff suffered any damages, she has failed to mitigate her

damages or take other reasonable steps to avoid or reduce her damages.

      5.     Any harm suffered by plaintiff was legally and proximately caused by

persons or entities other than EGS and were beyond the control or supervision of EGS or

for whom EGS was and is not responsible or liable.

                                             6
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.48 Page 7 of 8



       6.     Plaintiff has failed to state a claim against EGS upon which relief may be

granted.

       WHEREFORE, Defendant, EGS Financial Care, Inc. f/k/a NCO Financial Systems,

Inc., requests the Court dismiss this action with prejudice and grant it any other relief the

Court deems appropriate.

                                              Respectfully Submitted,

                                              /s/ R. Glenn Knirsch
                                              R. Glenn Knirsch (OH Bar # 0080770)
                                              Sessions Fishman, Nathan & Israel, LLC
                                              2647 Eaton Road
                                              University Heights, OH 44118
                                              Telephone: (216) 331-1308
                                              Facsimile: (216) 823-0524
                                              Email: rgknirsch@sessions.legal

                                              Deborah A. Lujan (MI Bar # P46990)
                                              COLLINS EINHORN FARRELL PC
                                              4000 Town Center, 9th Floor
                                              Southfield, MI 48075
                                              Telephone: (248) 351-5417
                                              Facsimile: (248) 351-6011
                                              Email: deborah.lujan@ceflawyers.com

                                              Attorneys for Defendant,
                                              EGS Financial Care, Inc.
                                              f/k/a NCO Financial Systems, Inc.




                                             7
  Case 1:18-cv-00097-RJJ-PJG ECF No. 10 filed 03/15/18 PageID.49 Page 8 of 8



                            CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2018, a copy of the foregoing was electronically

filed with the Clerk of the Court, United States District Court for the Western District of

Michigan and served via CM/ECF upon the following:

      Jeffrey D. Mapes
      Jeffrey D. Mapes PLC
      29 Pearl Street NW, Suite 305
      Grand Rapid, MI 49503
      Telephone: (616) 719-3847
      Facsimile: (616) 719-3857
      Email: jeff@mapesdebt.com
      Attorney for Plaintiff

                                                        /s/ R. Glenn Knirsch
                                                        R. Glenn Knirsch




                                            8
